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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SJUNDE AP-FONDEN and THE CLEVELAND
BAKERS AND TEAMSTERS PENSION FUND,                   17 Civ. 08457 (JMF) (GWG)
individually and on behalf of all others similarly
situated,

                          Plaintiffs,
                                                     ORAL ARGUMENT REQUESTED
             v.

GENERAL ELECTRIC COMPANY, JEFFREY R.
IMMELT, JEFFREY S. BORNSTEIN, JAMIE
MILLER, KEITH S. SHERIN, JAN R. HAUSER,
and RICHARD A. LAXER,

                          Defendants.



            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
            MOTION TO DISMISS THE FIFTH AMENDED COMPLAINT


                                                LATHAM & WATKINS LLP
                                                Miles N. Ruthberg
                                                Blake T. Denton
                                                885 Third Avenue
                                                New York, New York 10022
                                                (212) 906-1200

                                                Sean M. Berkowitz (pro hac vice)
                                                330 North Wabash Avenue, Suite 2800
                                                Chicago, Illinois 60611
                                                (312) 876-7700

                                                William J. Trach (pro hac vice)
                                                200 Clarendon Street
                                                Boston, Massachusetts 02116
                                                (617) 948-6000

                                                Sarah A. Tomkowiak (pro hac vice)
                                                555 Eleventh Street NW
                                                Washington, D.C. 20004
                                                (202) 637-2200

                                                Attorneys for Defendants
December 18, 2019
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       Defendants General Electric Co. (“GE”), Jeffrey R. Immelt, Jeffrey S. Bornstein,

Jamie Miller, Keith S. Sherin, Jan R. Hauser, and Richard A. Laxer (the “Individual Defendants”

and, together with GE, “Defendants”) submit this memorandum of law in support of their motion

to dismiss the Fifth Amended Complaint (“5AC”) (Ex. 1, cited as “¶ _”)1 with prejudice.

                                 PRELIMINARY STATEMENT

       Plaintiffs’ 5AC suffers from the same infirmities as the Fourth Amended Complaint

(“FAC”). Like Plaintiffs’ prior complaints, the gravamen of the 5AC is that certain senior GE

executives, without any personal financial motive, engaged in a multi-year fraud to mislead

investors regarding liabilities and reserves for GE’s run-off long-term care (“LTC”) reinsurance

business, and “severe cash flow issues” with GE Power’s long-term service agreements

(“LTSAs”). This Court previously dismissed nearly all of these claims either as time-barred or for

failure to plead falsity or scienter with the requisite particularity, and allowed Plaintiffs another

opportunity to replead. The 5AC drops most of Plaintiffs’ time-barred claims and several of their

affirmative misstatement claims. As to the claims Plaintiffs continue to assert, the 5AC does not

(and cannot) cure their fatal defects.

       First, Plaintiffs again fail to plead a claim based on GE’s disclosures of its LTC liabilities

and estimated LTC reserves. Plaintiffs attempt to salvage such claims by introducing two

“experts” who opine, respectively, that GE’s LTC disclosures were “obscure” and its assumptions

used to assess the estimated LTC reserves were “outdated.” E.g., ¶¶ 284-95; 189-214. But neither

“expert” has any actual knowledge of GE’s LTC reserve testing or any Defendant’s state of mind.



1
        Unless otherwise indicated herein, all internal citations and quotations are omitted,
emphasis is added, and citations to “Ex. __” refer to exhibits attached to the Declaration of Blake
T. Denton, submitted herewith. The Court may consider any documents or statements
incorporated into the 5AC by reference, as well as disclosure documents filed with the SEC. See,
e.g., ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007).
                                                 1
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Instead, these “experts” reach their opinions by reviewing publicly available information which is

irrelevant or only tangentially relevant to GE’s insurance reserves and/or facts that this Court

already considered and rejected. The “expert” opinions therefore add nothing to Plaintiffs’

insufficient allegations. Plaintiffs also add vague allegations from a previously-cited former

employee (“FE”) regarding a newly-recalled PowerPoint containing GE’s LTC claims experience,

but fail to allege that the claims experience was even negative, much less so negative as to render

GE’s reserves insufficient. Because the 5AC fails to allege any facts challenging the sufficiency

of GE’s LTC disclosures or establishing that GE’s LTC reserves were subjectively false (or had

no reasonable basis in fact), Plaintiffs’ LTC-related claims again must be dismissed.

       Second, Plaintiffs’ winnowed LTSA claims—which no longer contend that GE ever

misreported its contract assets or related LTSA financial metrics—are now based primarily on

alleged violations of Item 303, which Plaintiffs claim required GE’s specific disclosure of a

“decline in . . . utilization,” “modifications to LTSAs,” and a “widespread reliance on factoring.”

¶¶ 321, 406-25. Plaintiffs still fail to allege particularized facts that would establish any of the

foregoing trends, let alone facts that would show such trends were known to or recklessly

disregarded by any of the Defendants and would have had a material impact on GE’s financials.

Plaintiffs’ related challenges to five isolated statements loosely related to Power LTSAs fail for

the additional reasons that those statements were accurate statements of historical fact, inactionable

opinions and/or puffery, and Plaintiffs fall far short of raising the requisite “strong inference” of

scienter as to any alleged misstatement.

       Consistent with the Court’s prior Order, the more plausible inference—rather than fraud—

is that Defendants failed to anticipate the problems in its run-off reinsurance business and Power

segment and updated the market in real time as more information became available. The outcome

of this motion to dismiss the 5AC should be the same as the outcome of Defendants’ motion to

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dismiss the FAC, with two exceptions—(i) Plaintiffs’ Section 10(b) factoring-related claims, and

all Section 20(a) control person claims should (along with the rest of the claims) be dismissed;2

and (ii) dismissal of the 5AC should be with prejudice.

                                         BACKGROUND

       Defendants assume the Court’s familiarity with the factual background of this action, as

set forth in Defendants’ prior Motion to Dismiss, ECF No. 174 (the “Motion”), and the Court’s

Opinion and Order Granting In Part Defendants’ Motion to Dismiss the Fourth Amended

Complaint, ECF No. 185 (the “Order”).

       GE is a global industrial company that employs over 280,000 persons worldwide. ¶ 44;

see also Ex. 43, 2017 10-K, at 12. In 2017, GE had eight primary business segments—Aviation,

Capital, Healthcare, Lighting, Oil & Gas, Power, Renewable Energy, and Transportation—that

were divided into 36 sub-segments operated by over 150 direct and indirect subsidiaries. See

¶¶ 44, 78; Ex. 43, 2017 10-K, at 12, 28, 32, 36, 40, 44, 48, 51, 54; id. at Ex. 21. Plaintiffs’ claims

focus on GE Capital’s run-off reinsurance business (operated at third and fourth-tier subsidiaries

of GE), and GE Power’s LTSAs (from its Power Services division). See ¶¶ 51-52, 80, 327. The

Individual Defendants are current or former executives of GE or GE Capital.3 ¶¶ 45-50.



2
         At the time of the Court’s prior ruling on factoring, the Court did not have the benefit of
full briefing on the FE allegations on that issue. As discussed infra § I.B, the FEs relied upon by
Plaintiffs do not have personal knowledge to support their broad allegations.
3
        Mr. Immelt served as GE’s CEO from September 2001 to July 2017, and as Chairman of
GE’s Board from September 2001 to October 2017. ¶ 45. Mr. Bornstein served as GE’s CFO
from July 2013 to October 2017, and was a member of GE Capital’s Board from 2006 to 2015.
¶ 46. Ms. Miller has served as GE’s CFO since November 2017, and, prior to that, served as GE’s
Controller and CAO from 2008 to 2013, GE’s CIO from 2013 to 2015, and GE Transportation’s
President and CEO from 2015 to 2017. ¶ 47. Mr. Sherin served as GE’s CFO from 1999 to July
2013, and as GE Capital’s Chairman and CEO from July 2013 to September 2016. ¶ 48. Ms.
Hauser served as GE’s Controller and CAO from April 2013 through the filing of the 5AC. ¶ 49.
Mr. Laxer served as GE Capital’s President and CEO from September 2016 to March 2018, and
prior to that, held senior roles within GE Capital since 2009. ¶ 50.
                                                  3
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               Procedural Background And Dismissal Of The Fourth Amended Complaint

       On August 29, 2019, the Court dismissed the bulk of Plaintiffs’ FAC, finding that for the

vast majority of their claims, Plaintiffs failed to plead falsity or scienter, or were barred from

bringing them by the statute of repose. The Court denied Defendants’ prior Motion only as to a

limited number of factoring claims, and further ruled that Plaintiffs’ corresponding Section 20(a)

claims would survive “for now.” Order at 56.

       Dismissal of Time-Barred Claims. As an initial matter, the Court explained that “the statute

of repose bars Plaintiffs’ claims based on statements, omissions, or misrepresentations made [five

years] before [the TAC], and which were not timely raised in an earlier complaint or motion to

intervene,” and on that basis, dismissed several of Plaintiffs’ claims with prejudice. Id. at 16.

       Dismissal of LTC-Related Claims. The Court also dismissed all of Plaintiffs’ claims related

to GE’s LTC reinsurance portfolio. See id. at 16-36. The Court first rejected Plaintiffs’ claims

that “GE misled investors by excluding its LTC liabilities from the ‘[i]nsurance liabilities’ line

item of a table in the [MD&A] section of its Class Period 10-Ks,” finding that the disclosures in

GE’s 10-Ks, including in Note 11 to the financial statements, both negated any finding of scienter

and ensured that “no reasonable investor . . . could leave with the impression that GE’s LTC

liabilities were ‘immaterial’ or that GE’s total insurance liabilities were ‘declining’ or materially

less than they really were.” Id. at 16-20. The Court next analyzed GE’s LTC reserves as opinion

statements and found that Plaintiffs failed to meet the requirements for pleading opinion liability

under Omnicare. Id. at 22-26. Then, the Court dismissed Plaintiffs’ LTC-related claims based on

alleged violations of Item 303 of Regulation S-K and various GAAP provisions for failure to plead

scienter. Id. at 26-30. In so doing, the Court emphasized the “ineluctable fact” that “GE’s annual

deficiency testing [for LTC reserves] showed positive results through and including 2016,” as well

as GE’s numerous disclosures regarding the issues surrounding LTC reserves once they arose. Id.

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at 28-29. Finally, the Court dismissed Plaintiffs’ claims based on other public statements regarding

GE’s LTC business, because they failed to plead either a duty to disclose or scienter. Id. at 30-36.

       Dismissal of the Vast Majority of LTSA Claims. The Order also dismissed nearly all of the

FAC’s claims regarding GE Power’s LTSA business. Id. at 36-54. The Court dismissed claims

that GE’s “contract assets, reported profits for GE’s industrials group, cumulative catch-up

revenue, and earnings per share” were false or misleading. Id. at 36-37. Recognizing that such

metrics are opinion statements, id., the Court found that Plaintiffs failed to plead subjective falsity

under Omnicare. See id. at 38. The Court also rejected Plaintiffs’ alternate theory—i.e., that

Defendants failed to disclose material facts that purportedly impacted LTSA profitability—noting

that Plaintiffs failed to “provide[] a basis for why the revenue projections, without further

disclosures, were misleading to a reasonable investor.” Id. at 39-40 (emphasis in original).

       The Order also dismissed Plaintiffs’ claims based upon alleged violations of GAAP, noting

that the alleged violations were “pled so skeletally that they do not satisfy even Rule 8’s relatively

lenient thresholds.” Id. at 40-41. The Court dismissed all but one of Plaintiffs’ LTSA-related

claims for failure to disclose alleged trends or uncertainties in violation of Item 303. See id. at 41-

46. Plaintiffs alleged three supposed trends: (i) GE’s alleged reliance on “unsustainable business

practices” in order to “generate positive cumulative catch-up adjustments”; (ii) the “deteriorating

power industry” and “decreased [GE] asset usage”; and (iii) GE’s purported reliance on factoring.

Id. at 42. The Court dismissed Plaintiffs’ claims based upon the first two of the alleged trends, id.

at 42-44, and allowed Plaintiffs’ claim based upon the third to survive only with respect to GE and

Mr. Bornstein for statements from 2015 and later, id. at 44-46.

       Finally, the Order also dismissed all but one of Plaintiffs’ remaining LTSA claims based

upon GE’s disclosures or other public statements by Defendants. See id. at 46-54. The Court

reasoned that Plaintiffs failed to adequately allege falsity and/or scienter as to all of the statements

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they challenged regarding the way that GE determined its contract assets, id. at 47-49, or GE’s

cumulative catch-up adjustments and cash flow, id. at 50-51, as well as to all but one of the

statements Plaintiffs challenged regarding factoring, id. at 51-54.

               The Fifth Amended Complaint

       On October 25, 2019, Plaintiffs filed the 5AC. Contrary to the Court’s guidance, the 5AC

does not allege any additional facts regarding “the Individual Defendants’ knowledge, or conscious

disregard of, GE’s actuarial issues (with respect to its LTC portfolio),” “the trends and risks it

should have disclosed (with respect to its LTSAs),” or, “as to their more threadbare claims,” facts

that “may meet the requirements of Rules 8 and 9(b).” Order at 56.

               1.      Plaintiffs’ LTC-Related Claims Contain New Opinions, Not Facts

       The 5AC adds nothing of substance to the LTC allegations and theories this Court already

found deficient. In the 5AC, Plaintiffs remove confidential witness allegations central to their

prior complaint, and replace them with “expert” opinions regarding GE’s presentation of LTC

liabilities in financial statements, ¶¶ 284-95, and GE’s LTC premium deficiency testing, e.g.,

¶¶ 187-215. First, purported expert Dr. Roman Weil offers his opinion—based on the exact same

facts that the Court rejected before—that no reader of GE’s financial statements could have

discerned the extent of GE’s LTC risks. ¶¶ 284-95; Order at 16-20. Second, purported expert

Mr. David Axene opines that GE’s annual premium deficiency tests incorporated assumptions that

were outdated and inconsistent with both industry practice and GE’s own claims experience.

¶¶ 187-215. This opinion is based entirely on the statutory (not GAAP) filings of, and assumptions

used by, a different company—MetLife—whose LTC exposure was reinsured by UFLIC, the

smaller of GE’s two reinsurance subsidiaries. ¶¶ 136-48, 193-205. The sole new factual allegation

in the 5AC not based on publicly disclosed information involves a PowerPoint that FE-2 now

recalls may have been “received” by senior GE executives. ¶¶ 131-34. But the 5AC does not

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describe this PowerPoint in detail, explain whether the PowerPoint even contained negative claims

experience, or provide any factual allegations regarding Defendants’ review of the PowerPoint.

Nor does it identify any Individual Defendant other than Mr. Immelt and “the CFO” who allegedly

“received” the document. Id.

               2.      Plaintiffs’ LTSA-Related Claims Lack New Substance

       With respect to GE Power’s LTSA business, the 5AC removes many of Plaintiffs’ former

claims, and does nothing to rehabilitate the previously dismissed claims. Plaintiffs instead simply

repeat their two prior theories of liability. First, Plaintiffs claim that GE violated Item 303 by

failing to disclose three alleged trends or uncertainties. See, e.g., ¶ 321; see also Order at 41-46.

Second, Plaintiffs again challenge statements by Mr. Bornstein in early 2017 and language in GE’s

Form 10-K for 2016 concerning GE’s use of factoring. See, e.g., ¶ 322; see also Order at 50-54.

       In support of these claims, there are no new theories of wrongdoing, no new facts, and no

new allegations by anyone who claims to have had direct contact with any Individual Defendant.

Rather, the 5AC includes only two new FEs: FE-11—described as “a senior executive at GE

Distributed Power and GE Power” who alleges that a 2013 analysis of the power market “rolled

up” to the CEO of GE Distributed Power, two reporting levels below Mr. Immelt, ¶¶ 70, 343—

and FE-12—who allegedly worked as “a senior financial executive for GE Power” and whose sole

contribution to the 5AC is that GE tracked utilization rates “in real time,” ¶¶ 71, 349—an allegation

that Plaintiffs already made in the FAC at ¶ 246.

                                          ARGUMENT

I.     THE 5AC FAILS TO PLEAD A SECTION 10(B) CLAIM

       Plaintiffs’ Section 10(b) claims are again subject to the heightened pleading requirements

of both Rule 9(b) and the Private Securities Litigation Reform Act (“PSLRA”), as set forth in the

Order (at 10-11), in addition to the requirements under Bell Atlantic Corp. v. Twombly, 550 U.S.

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544, 570 (2007) and Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), that Plaintiffs allege facts, not

mere speculation, establishing a “plausible” claim. The 5AC challenges over 100 statements or

omissions related to LTC reinsurance and LTSAs as false or misleading.4 As this Court explained,

the test for whether a statement or omission is misleading is “whether the defendants’

representations, taken together and in context, would have misled a reasonable investor.” Order

at 12 (quoting In re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 250 (2d Cir. 2016)).

       In addition to the requirement to plead falsity, “with respect to each [alleged] act or

omission,” Plaintiffs must “state with particularity facts giving rise to a strong inference that [each]

defendant acted with the required state of mind” (or scienter). 15 U.S.C. § 78u-4(b)(2). As the

Court previously observed (and as remains true in the 5AC), Plaintiffs “do not attempt to

demonstrate scienter by establishing that Defendants had ‘motive and opportunity’ to commit

fraud,” and instead rely on a theory of “conscious misbehavior or recklessness.” Order at 26.5 To

plead recklessness, Plaintiffs must allege facts that show “a state of mind approximating actual

intent, and not merely a heightened form of negligence.” Id. at 13.

       Here, because the 5AC fails to allege with particularity that any of the challenged

statements were false or misleading, or that any Defendant acted recklessly, the 5AC fails to plead

falsity or scienter for each of Plaintiffs’ Section 10(b) claims.



4
       A table categorizing each of the challenged statements or omissions, and the reason(s) why
each should be dismissed, is attached as Exhibit 3. See Fogel v. Wal-Mart de Mexico SAB de CV,
2017 WL 751155, at *18 (S.D.N.Y. Feb. 27, 2017) (accepting appendices that serve as
“organizational tools”).
5
        In the 5AC, Plaintiffs reference the salaries of some (not all) of the Individual Defendants.
See ¶¶ 45-48. To the extent these allegations are an attempt to plead that Defendants had motive
to commit securities fraud (a link Plaintiffs do not make), the Court should reject it for the reasons
stated in Defendants’ prior Motion. See Mot. 27-28. And indeed, the 5AC still does not allege
any stock sales by any Defendant during the class period—a fact that “suggest[s] the absence of
any nefarious motives.” Plumbers & Steamfitters Local 773 Pension Fund v. Canadian Imperial
Bank of Commerce, 694 F. Supp. 2d 287, 299 (S.D.N.Y. 2010).
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               Plaintiffs’ LTC Claims Again Should Be Dismissed

       In the 5AC, Plaintiffs abandon the FAC’s core theory that GE Capital’s LTC reinsurance

business lacked sound actuarial validation models and processes, removing all allegations

attributed to FE-1 and FE-3, and altering allegations from FE-2. Plaintiffs also drop their claims

that GE violated any GAAP disclosure obligations, FAC ¶¶ 360-67, and that Defendants falsely

represented that GE did not retain any LTC exposure, FAC ¶¶ 334-36, 339-41, 346-349. As to

their remaining claims that the Court previously considered and rejected, Plaintiffs re-assert those

claims, adding only “expert” opinions and speculative allegations regarding purported deficiencies

in the assumptions GE used in its annual premium deficiency testing. As before, Plaintiffs allege

that Defendants: (i) misleadingly obscured and concealed GE’s LTC liabilities in its SEC filings,

¶¶ 251-57; (ii) fraudulently understated GE’s LTC liabilities, e.g., ¶¶ 12, 135; (iii) omitted

information about GE’s LTC exposure and related risks in GE’s financial statements, ¶¶ 228-50;

and (iv) misrepresented the extent of GE’s LTC risks in public statements, ¶¶ 258-68. The 5AC

still fails to state an actionable LTC-related claim.

               1.      GE’s Presentation Of Insurance Liabilities Was Not Misleading

       As the Court previously held, “[v]iewed in context and together,” GE’s presentations of

LTC liabilities in its SEC filings “were not misleading.” Order at 17. Specifically, rejecting

Plaintiffs’ challenges to GE’s exclusion of LTC liabilities from its MD&A contractual obligations

table, the Court found that “no reasonable investor, having reviewed both the MD&A table and

Note 11 (as the filing directed her to do), could leave with the impression that GE’s LTC liabilities

were ‘immaterial’ or that GE’s total insurance liabilities were ‘declining’ or materially less than

they really were.” Id. at 17-18. That is because there was a consistent “ten-figure disparity”

between GE’s MD&A contractual obligations table—which expressly disclosed that it “excluded

long-term care, variable annuity and other life insurance contracts,” with a cross-reference to Note

                                                  9
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11—and the figure in Note 11. Id. at 17. Note 11 broke out in tabular form GE’s total “investment

contracts, insurance liabilities and insurance annuity benefits,” which GE disclosed “comprise[d]

mainly obligations to annuitants and policyholders in [GE’s] runoff insurance operations,” and

thus necessarily included LTC. Id. The Court alternatively held that “the fact that GE disclosed

the entirety of its insurance liabilities elsewhere in its Form 10-Ks,” including in Note 11, with

“explicit directions to readers as to how to find those disclosures,” defeated “any finding that GE

acted with the requisite scienter in omitting the liabilities from its [MD&A] tables.” Id. at 19.

       In the 5AC, Plaintiffs criticize the same MD&A table and Note 11, ¶¶ 245, 251, 257,

repeating the theory rejected by this Court that the disclosures “obscured and misleadingly

minimized the nature and extent of [GE’s LTC] risks,” ¶ 269. Because Plaintiffs cannot change

the facts that doomed this theory before, Plaintiffs proffer instead the opinion of a paid “accounting

expert consultant,” Dr. Weil, ¶¶ 284-95, and several pages of attorney argument, ¶¶ 272-83. Those

are not well-pled factual allegations, and they are insufficient to change the result.

       First, Plaintiffs’ inclusion of an “expert” opinion does not lend credence to their already-

rejected challenges to GE’s MD&A table. As an initial matter, expert “opinions cannot substitute

for facts under the PSLRA.” Fin. Acquisition Partners LP v. Blackwell, 440 F.3d 278, 286 (5th

Cir. 2006). And there are no new facts in the 5AC relating to the MD&A table. Indeed, in reaching

his “conclu[sion]” that “no reader of GE’s financial statements, no matter how diligent or

sophisticated, could have discerned the extent of GE’s LTC risks,” Dr. Weil reviewed the very

same information that this Court analyzed when reaching the opposite conclusion. ¶ 285 (“Dr.

Weil analyzed each of GE’s 10-Ks for fiscal years 2012 through 2016, including GE’s financial

statements, the notes to GE’s financial statements (including Note 11) and the MD&A Contractual

Obligations table.”). Dr. Weil’s sole rationale for his “opinion” is that there is “no explanation as

to how the figures in Note 11 relate, if at all, to the insurance liabilities line item in the MD&A

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Contractual Obligations table.” Id. The FAC made an identical allegation. FAC ¶ 331 (alleging

that GE’s financial statements “contained no explanation as to how GE’s Disclosed Insurance

Liabilities [in the MD&A table] related to the amounts disclosed in Note 11”). Dr. Weil’s opinion

is entitled to no greater weight than this previous allegation, see Sgarlata v. PayPal Holdings, Inc.,

2019 WL 4479562, at *10 (N.D. Cal. Sept. 18, 2019) (applying the “same standard applied to

confidential informants” to expert allegations, and rejecting an expert opinion that did not allege

any particularized facts), and his expertise is not needed to understand or analyze Plaintiffs’ factual

allegations. Accord Highland Capital Mgmt., L.P. v. Schneider, 379 F. Supp. 2d 461, 468

(S.D.N.Y. 2005) (“[E]xpert testimony is inadmissible when it addresses ‘lay matters which a [fact-

finder] is capable of understanding and deciding without the expert’s help.’”).

       Second, Plaintiffs continue to assert that GE’s presentation of its insurance liabilities was

misleading because investors could not determine the precise amount of GE’s LTC liabilities from

the MD&A table or Note 11. ¶¶ 272-80. Again, Plaintiffs identify no new facts; they simply argue

from facts this Court already considered and rejected.           See Order at 16-20 (holding that

“[d]isclosure of an item of information is not required simply because it may be relevant or of

interest to a reasonable investor,” and that because GE “fully disclosed its total insurance liabilities

in Note 11,” GE’s “omission of LTC liabilities from its MD&A table was not misleading”).6

       Third, Plaintiffs attempt to rely on Dr. Weil to buttress their rejected claim that grouping

LTC under “Life insurance benefits” and “Other” in Note 11 was misleading. See Order at 16-20.


6
         Plaintiffs again argue that GE’s exclusion of LTC liabilities from the MD&A table because
they were not “reasonably determinable” is an “acknowledgement that those GAAP LTC liabilities
did not reasonably approximate GE’s LTC risks.” ¶ 282. As Defendants explained before, ECF
180, at 6 n.7, Plaintiffs compare apples to oranges: LTC reserves are broad estimates of future
liabilities over many decades, whereas the MD&A table is a granular near-term outlook. GE’s
exclusion of LTC liabilities from a table presenting granular near-term liabilities says nothing
about GE’s ability to approximate its long-term LTC “risks”—it just means estimates of near-term
outflows were not sufficiently precise to be useful.
                                                  11
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According to Dr. Weil—an accountant who has no discernable background in insurance products,

¶¶ 74-77—the risks of insuring LTC benefits are higher than the risks of insuring “pure” life

insurance, thereby necessitating a separate line item for LTC in Note 11. E.g., ¶¶ 287-94. But that

is the exact same “view” that was expressed by FE-2 in the FAC (and again in the 5AC). FAC

¶ 157; 5AC ¶ 255 (same). Like FE-2, Dr. Weil fails to cite to any rule requiring that a particular

term be used to describe insurance liabilities, establishing that insurance liabilities cannot be

grouped together, or mandating that LTC liabilities be reported separately from other life insurance

liabilities.7 See In re Axis Capital Holdings Ltd. Sec. Litig., 456 F. Supp. 2d 576, 590 (S.D.N.Y.

2006) (rejecting claim that defendant was required to disaggregate particular costs in line item

where plaintiffs “point[ed] to no accounting or reporting requirements” mandating such

disclosure). Dr. Weil just says that a separate classification for LTC liabilities was “important.”

¶ 287. His opinion is not fact. See In re NYSE Specialists Sec. Litig., 503 F.3d 89, 95 (2d Cir.

2007) (“no ‘presumption of truthfulness’ accorded to ‘opinions couched as factual allegations’”).

       As this Court previously held, GE disclosed its retention of run-off LTC reinsurance

liabilities to investors. Order at 32. And as Defendants pointed out in their prior Motion, Note 11

expressly described the category “Life insurance benefits” as including “obligations … in our run-

off insurance operations,” i.e., GE’s retained LTC portfolio. ¶ 252; Ex. 8, 2012 10-K, at 136; Ex.

13, 2013 10-K, at 146; Ex. 19, 2014 10-K, at 170; Ex. 24, 2015 10-K, at 166; Ex. 33, 2016 10-K,

at 167. The MD&A table further confirmed that “life insurance” included LTC, stating that the

table “excluded long-term care, variable annuity and other life insurance contracts.” ¶¶ 247-48.

Plaintiffs’ own sources confirm that the industry often grouped LTC within “life insurance.” Mot.


7
        Plaintiffs’ challenges to GE’s classification of LTC reserves for claims that already had
been made (i.e., “claims reserves” or “DLR reserves”) as “Other” fail for the additional reason that
Plaintiffs do not even allege that GE’s claims reserves were insufficient.

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14. For example, a Credit Suisse report on LTC cited in the FAC8 is titled “US Life Insurance

Sector Review,” and it describes LTC as within the “life insurance industry.”9 Ex. 35, at 1, 9.

       Finally, Plaintiffs’ claims also fail because the 5AC again is devoid of any allegation that

any Defendant acted with scienter in excluding LTC liabilities from the MD&A table,10 or

including LTC reserves in the sub-line item “Life insurance benefits” or “Other.” As this Court

found, the “disclosure of those liabilities—and the explicit directions to readers as to how to find

those disclosures [in Note 11]—strongly undercuts any inference that GE had the intention to

deceive, manipulate, or defraud investors.’” Order at 19-20 & n.9. Unsurprisingly, Dr. Weil says

nothing about anyone’s state of mind (including any Defendant’s), other than his own.

               2.      LTC Reserves Are Non-Actionable Opinion Statements11

       Plaintiffs also fail to plead an actionable claim based upon GE’s reported LTC reserves.

The Court previously held that Plaintiffs failed to allege that GE’s LTC reserves, which are

indisputably opinion statements, were false or misleading. Order at 20-26 (citing Fait v. Regions

Fin. Corp., 655 F.3d 105, 113 (2d Cir. 2011)). Specifically, the Court rejected the two theories of

opinion liability pressed by Plaintiffs in the FAC, holding that Plaintiffs’ allegations regarding



8
         Plaintiffs removed any mention of this Credit Suisse report in the 5AC, but the Court may
still consider it. See Poindexter v. EMI Record Grp. Inc., 2012 WL 1027639, at *2 (S.D.N.Y. Mar.
27, 2012) (court may consider allegations made in earlier complaint on a motion to dismiss).
9
       For the first time, Plaintiffs allege, albeit in passing, that GE’s GAAP classifications were
“inconsistent” with ERAC’s and UFLIC’s statutory filings, which “described LTC reserves as
‘reserve for accident and health contracts,’ a separate line item from ‘reserve for life contracts.’”
¶¶ 256-57. But ERAC’s and UFLIC’s statutory filings are subject to different requirements under
Kansas law, and have no bearing on GE’s GAAP financial reporting obligations.
10
        Plaintiffs point again to GE’s decision to include LTC liabilities in the MD&A table in
2018 (following its reserve increase), ¶¶ 316-17, but as this Court held, “the change in disclosure
practices alone is insufficient to establish a strong inference of scienter.” Order at 19-20 n.9.
11
       Although Plaintiffs abandon their challenges to the LTC reserve figures reported in line
items under Note 11 of GE’s financial statements, see FAC ¶ 351, the 5AC alleges that GE was
under-reserved, or that GE would have to take an “inevitable” charge, e.g., ¶¶ 135, 138-39, 161.
                                                 13
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widespread issues with actuarial models used by GE’s reinsurance subsidiaries were insufficient

to establish either subjective falsity or that GE’s LTC reserves “did not rest on a meaningful factual

inquiry nor have any reasonable basis in fact.” Id. at 22-24 (citing Omnicare, Inc. v. Laborers

Dist. Council Constr. Indus. Pension Fund, 135 S. Ct. 1318, 1332 (2015)). In reaching its decision,

the Court found that Plaintiffs’ own allegations “undercut[]” their claim that Defendants knew GE

was under-reserved, because “[a]fter all, as the Complaint itself acknowledges, GE’s yearly

deficiency testing resulted in positive margins every year through 2017—i.e., throughout the Class

Period.” Order at 23-24 (emphasis in original). In the 5AC, Plaintiffs omit all FE allegations

purporting to disparage GE’s actuarial models and processes. Yet they pursue the same claims,

citing to an “expert” opinion, ¶¶ 189-212; and FE-2’s discussion of a PowerPoint that he speculates

Defendants “would have” seen, ¶¶ 131-34. These amendments do not salvage Plaintiffs’ claims.

                       a.      Mr. Axene’s Analysis Of MetLife Statutory Filings Misses The Mark

        Plaintiffs’ claimed actuarial expert, Mr. Axene, ¶¶ 72-73, cannot save Plaintiffs’ opinion

claims. As explained below, his analysis is off point and does not evidence any Defendant’s state

of mind or any actual inquiry undertaken (or not) by GE. See ¶¶ 136-46, 193-212.

       Plaintiffs allege that because “over 99.5% of MetLife’s LTC exposures were reinsured by

UFLIC,” a fourth-tier subsidiary of GE, MetLife’s “LTC exposures were UFLIC’s LTC exposures,

and MetLife’s assumptions were UFLIC’s assumptions.” ¶¶ 135-48. From that premise, Mr.

Axene cites to disclosures in MetLife’s publicly available statutory filings and rate increase

applications (which were submitted to state insurance regulators) and alleges that they reveal

“severe deficiencies” in GE’s annual GAAP premium deficiency testing.12 ¶ 193. Specifically,



12
        Although Mr. Axene purports to have reviewed certain regulatory filings of ERAC and
UFLIC, e.g., ¶¶ 126-28, 189, neither he nor Plaintiffs claim that any figure or estimate referenced
therein was incorrect or somehow reflected any use of “grossly outdated” assumptions, ¶ 197.
                                                 14
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he claims that MetLife’s disclosures reveal that GE (i) used “grossly outdated” mortality and lapse

rate assumptions that were “far more aggressive” than its peers, ¶¶ 193-205; and (ii) had “highly

negative claims experience” that existed “years before” and “persisted throughout” the Class

Period, ¶¶ 135-48. As a result, Mr. Axene speculates that the only way GE’s annual premium

deficiency testing could result in positive margins throughout the Class Period was if GE used

“grossly inaccurate” assumptions that were “inconsistent with its own claims experience.” ¶¶ 209-

12. Mr. Axene’s purported analysis does not withstand scrutiny.

        First, Mr. Axene’s “analysis” of what Plaintiffs call “UFLIC/MetLife’s” assumptions and

claims experience says nothing about GE’s other reinsurance subsidiary ERAC, which reinsures

approximately three-quarters of GE’s total LTC portfolio (and which Plaintiffs admit has nothing

to do with MetLife). ¶ 114; see Ex. 45, Mar. 2019 Teach-In Presentation, at 6. In fact, given that

under GAAP a business may conduct premium deficiency testing on an aggregate level for all

products within its subsidiaries, Ex. 4, ASC 944-60-25-2, 3, Mr. Axene’s UFLIC-only analysis

has little bearing on GE’s premium deficiency testing. Mr. Axene’s failure to address any of

ERAC’s assumptions or claims experience in his “analysis” is exacerbated by the fact that the

majority of GE’s LTC charge in January 2018 was attributable to ERAC, not UFLIC, see ¶ 208.13




13
        Plaintiffs do not even purport to have any information about assumptions used by ERAC,
but Plaintiffs’ “expert” speculates “that there is no reason to believe that ERAC’s assumptions
were any better than UFLIC’s.” ¶ 206. An allegation that there is “no reason to believe” is the
antithesis of pleading facts with particularity. See, e.g., In re Ferrellgas Partners, L.P., Sec. Litig.,
2018 WL 2081859, at *19 (S.D.N.Y. Mar. 30, 2018). And, in any event, his assertion that because
ERAC’s reserve increase was “much larger” than UFLIC’s, that must mean that ERAC’s best
estimate assumptions were “just as—if not more—outdated and overly optimistic,” ¶ 208, is
specious. ERAC reinsures 200,000+ LTC policies, compared to UFLIC’s 70,000+ policies, and
the policies have different attributes. Ex. 45, Mar. 2019 Teach-In Presentation, at 6. Plaintiffs
further admit that 80% of ERAC’s LTC reserves relate to reinsurance agreements with five
insurers, none of which are MetLife. ¶ 51.
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       Second, as Plaintiffs admit, MetLife’s statutory filings reflect assumptions used to assess

the adequacy of MetLife’s statutory LTC reserves, which differ from the assumptions it (let alone

ERAC and UFLIC) used to test its GAAP LTC reserves. ¶ 194. And while Mr. Axene alleges that

assumptions for statutory reserves are “typically more conservative” than for GAAP reserves, he

can only posit that the assumptions used by GE in its GAAP testing “necessarily suffered from the

same deficiencies.” Id. That supposition does not suffice. See Sgarlata, 2019 WL 4479562, at

*10 (rejecting expert opinion regarding “the most reasonable assumption” related to a privacy

network because it “appear[ed] to be merely a guess about the structure of Defendants’ network”).

       Third, while Plaintiffs speculate that MetLife’s claims experience data “was available to

and reviewed every year by GE’s most senior executives,” ¶ 148, neither Plaintiffs nor Mr. Axene

allege that any Defendant reviewed MetLife’s statutory filings, and thus his analysis has no bearing

on whether Defendants “affirmatively disbelieved (or recklessly credited) a statement of opinion,”

Order at 22. Mr. Axene did not have contact with any Defendant, much less any insight into GE’s

actuarial analyses or knowledge of supposed “catastrophic” and “alarming” warning signs. See

¶¶ 140, 189-215. Mr. Axene does not allege that any Defendant knew what assumptions MetLife

used in its statutory filings or GAAP premium deficiency testing, let alone that any Defendant

knew that any such assumption meant that GE’s GAAP assumptions were somehow deficient.

       Fourth, even if Plaintiffs had alleged that certain Defendants were aware of and had

considered MetLife’s statutory filings (which they do not allege), that would not establish that

Defendants believed GE’s GAAP LTC reserves were incorrect.                  In his evaluation of

“UFLIC/MetLife’s” mortality and lapse rate assumptions, ¶¶ 195-205, Mr. Axene nowhere

addresses the myriad other actuarial assumptions that impact premium deficiency testing,

including, for example, morbidity (the extent and cost of LTC services), discount rates (expected

future investment yields used to discount projected nominal cash outflows), interest rates, or

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anticipated future premium increases (on a state-by-state level). See ¶ 90. At bottom, Mr. Axene

does not explain how knowledge of MetLife’s statutory filings would undermine any Defendant’s

subjective belief that GE’s GAAP LTC reserves were sufficient. Nor, for that matter, does the

5AC allege how MetLife’s statutory assumptions establish that Defendants lacked “any reasonable

basis in fact” for GE’s GAAP LTC reserves.               Order at 24.      Mr. Axene criticizes

“UFLIC/MetLife’s” purported use of, for example, “30+ year-old mortality tables” with “higher

selection factors than were supported by the actual experience” and “lapse rate assumptions that

were 50% higher than industry standards,” ¶¶ 200, 214, but those criticisms do not establish that

GE failed to undertake a “meaningful factual inquiry” into its reserves. Order at 24. To the

contrary, Plaintiffs allege that “GE conducted annual claims experience studies with respect to its

LTC blocks,” ¶ 130, “GE’s claims experience analyses were conducted by senior GE actuaries,”

¶ 128, and non-defendant employees “prepared analyses of ERAC’s LTC liabilities, including

anticipated cash flows of such liabilities, static and dynamic validations of the model’s liability

values and cash flows, confirmation of the reasonableness of the projected liability cash flows and

of the underlying assumptions, and selection and confirmation of certain key assumptions,” ¶ 56.

And, Plaintiffs of course still concede the unavoidable fact that GE’s annual premium deficiency

testing resulted in positive margins every year throughout the Class Period. ¶ 188.

       Moreover, Mr. Axene does not and cannot state whether, by how much, or when GE should

have increased its LTC reserves in response to MetLife’s purported claims experience data—let

alone attest to any Defendant’s knowledge regarding these issues. He also ignores the fact that, as

Plaintiffs’ cited sources recognize, assumptions used in annual premium deficiency tests are

heavily dependent on actuarial judgment and interpretation of data. See Ex. 6, ASOP No. 18, at

3.2 (noting that “assumption setting” is not fixed by rule and requires that the actuary use

“professional judgment of future events affecting the incidence and cost of LTC benefits”); Exs. 7

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& 23, Milliman Surveys (discussing variance in assumptions across LTC industry). Mr. Axene

can only second guess, in hindsight, GE’s complex actuarial judgments. ¶ 212. That does not

state a claim. Accord Harris v. AmTrust Fin. Servs., Inc., 2015 WL 5707235, at *10 (S.D.N.Y.

Sept. 29, 2015) (“In the absence of a restatement or allegations pointing to objective facts that

Defendants’ accounting methods violated GAAP, carping about Defendants’ application of GAAP

amounts to no more than a ‘naked assertion’ devoid of ‘further factual enhancement[.]’”).14

       Fifth, even fully accepting Mr. Axene’s “analysis,” it would in fact disprove Plaintiffs’

claims. Assuming MetLife and UFLIC used the “same [statutory] assumptions” (which they did

not),15 and that such assumptions could be ascribed to GE’s entire LTC business (which they




14
        Mr. Axene also speculates that “GE’s actuaries” were “exposed” to “significant infirmities
with GE’s best estimate assumptions.” ¶ 209. But no Individual Defendant was an actuary. E.g.,
¶ 152 (“Miller was responsible for ‘almost everything except actuary work.’”). Further, the 5AC
does not specify the alleged “infirmities” in GE’s assumptions (even though FE-2 purports to have
been an actuary at ERAC, ¶ 112), and its passing reference to certain characteristics of UFLIC’s
and ERAC’s reinsured LTC policies—which were voluntarily disclosed by GE one year after the
end of the Class Period—does nothing to buttress Plaintiffs’ claims. See ¶¶ 116-22. Moreover,
Plaintiffs’ current theory is at odds with FE-2’s prior allegations, casting doubt on his veracity.
Compare ¶¶ 215 (alleging GE’s assumptions were “outdated” and “inconsistent” throughout the
Class Period) with FAC ¶¶ 187-88 (alleging that FE-2 informed ERAC’s senior management of
“stale” assumptions in 2014 that were then “correct[ed]”). Additionally, in the FAC, Plaintiffs
conceded that KPMG reviewed such assumptions and issued a clean audit opinion each year during
the Class Period, FAC ¶ 415, and do not allege anything in the 5AC that undermines that fact (such
as through allegations that GE withheld information from KPMG). Finally, Plaintiffs ignore that
GE Capital and its subsidiaries were under supervision by the Federal Reserve Board for a portion
of the Class Period, e.g., Ex. 19, 2014 10-K, at 52, and do not allege that the Federal Reserve Board
ever raised any issues related to ERAC’s or UFLIC’s LTC reserves or testing assumptions.
15
        As Plaintiffs admit, MetLife merely stated, in its 2012 and 2016 rate filings, that its
assumptions were “consistent with the business plan in the primary risk taker’s [] asset adequacy
testing.” ¶ 193. That is confirmed by the actuarial certifications attached to MetLife’s 2012 and
2016 statutory rate filings, which state the “assumptions used in [MetLife’s] rate filings” are
“consistent but not identical” to UFLIC’s, and that the “assumptions used in the rate filings include
a policy coverage type adjustment and an additional downward adjustment to the morbidity
assumptions ranging by duration from 8% to 2%,” which “remove an implicit margin in the asset
adequacy testing assumptions.” E.g., Ex. 12, MetLife Rate Increase Filing, at 55 (Nov. 13, 2013).

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cannot), and that they could be extrapolated to GAAP assumptions (which they cannot), these

allegations do not help Plaintiffs. The fact that MetLife, one of the largest global providers of

insurance, used the same assumptions, and openly disclosed its use of such assumptions in rate

applications to state regulators belies any notion that such assumptions were “grossly outdated”

or “inconsistent with prevailing industry assumptions.” ¶ 197.16 Instead, the fact that a reputable

carrier, reviewing the same claims experience, reached the same assumptions would negate

Plaintiffs’ conclusions.17

                       b.      Unidentified PowerPoints Cannot Save Plaintiffs’ Claims

       Plaintiffs’ new allegations from FE-2 fare no better. Over one year after the FAC was

filed, FE-2 now recalls and refers to annual PowerPoint presentations containing ERAC and

UFLIC claims experience data that he neither prepared nor presented (nor saw presented by

others), but that he nonetheless baselessly speculates were “received” by Mr. Immelt and unnamed

executives. ¶¶ 131-34. According to FE-2, there was at least a five-person chain of custody

between the alleged unspecified drafter of the presentation and the unknown person alleged to

have presented information to any Defendant. See ¶ 133. Critically, the 5AC does not contain any

details as to whether the PowerPoints even contained negative claims experience (and, if so, in




16
        As Plaintiffs concede, “LTC insurance is subject to substantial regulation.” ¶ 88. LTC
insurers are “required to disclose to state regulators the number of policies covered along with data
regarding their claims experience (e.g., incurred claims, lives inforce) and, in particular, comparing
their actual claims experience to their expected claims experience.” Id. Indeed, consistent with
their oversight and enforcement authority, during the Class Period, regulators and independent
auditors reviewed UFLIC’s and ERAC’s annual assumptions and claims experience, and the
Kansas Insurance Department had continuous authority to conduct a financial examination of the
companies. See Ex. 46, Press Release (Aug. 19, 2019), at 1; Kan. Stat. Ann. 40-222.
17
       Plaintiffs’ further allegation that UFLIC self-reported those same assumptions for use in
voluntary industry surveys held in 2012 and 2015, ¶ 198, also undermines any notion that such
assumptions were “grossly” unreasonable, ¶ 197; see Exs. 7 & 23, Milliman Surveys.

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what years and amounts), much less warned that GE’s reserves may be inadequate to cover future

liabilities.18 Instead, the Court is left only with Plaintiffs’ vague speculation that such “claims

experience data” would show that “the risks associated with GE’s toxic LTC portfolio had become

a reality.”19 ¶ 135. There are no allegations in the 5AC that the information reported in the

PowerPoints was withheld from GE’s actuaries, who made the underlying assumptions, or KPMG,

GE’s outside auditor, ¶ 170, which reviewed the assumptions. As before, Plaintiffs’ allegations

fall short of satisfying Plaintiffs’ burden to plausibly allege that any Defendant did not “believe[]

their LTC reserve statements were true,” that GE failed to undertake a “meaningful factual inquiry”

into its reserves, or that Defendants lacked “any reasonable basis in fact” for their estimates. Order

at 22, 24. At most, even if these unidentified PowerPoints are given any weight, “this case is [still]

closer to those in which defendants allegedly possess[ed] facts which should have led them to

make further inquiry, but which, without more, do not sufficiently allege that the individuals

disbelieve[d] their stated opinions.” Id. at 23.

               3.      GE’s Alleged Omissions Regarding LTC Exposure Or Related Risks Are
                       Not Actionable

       As before, Plaintiffs continue to rely on Item 303,20 alleging that Defendants failed to

disclose known material trends and uncertainties in GE’s run-off reinsurance business. Dismissing


18
        Indeed, even if the PowerPoints reported negative claims experience (which Plaintiffs do
not allege), see ¶¶ 131-34, that would not imply that GE was under-reserved under GAAP.
19
       FE-2’s ambiguous assertion that the purported PowerPoint showed a “hump” where
necessary reserves were expected to peak, see ¶ 132, does not adequately allege that GE’s reserves
were inadequate at any time; Plaintiffs do not even allege that GE’s reserves were set below the
“hump” (or that Defendants would even understand what that “hump” meant).
20
        Circuits are split on whether violations of Item 303 give rise to a private right of action
under Section 10(b) or Rule 10b-5. The Second Circuit has held “yes,” see Stratte-McClure v.
Morgan Stanley, 776 F.3d 94, 100 (2d Cir. 2015); the Ninth Circuit has held “no,” see In re
NVIDIA Corp. Sec. Litig., 768 F.3d 1046, 1054-56 (9th Cir. 2014). The Supreme Court granted
certiorari to review that very issue in Leidos, Inc. v. Indiana Public Ret. Sys., 137 S. Ct. 1395,
1396 (2017), but the case settled on the eve of oral argument. 138 S. Ct. 369 (2017).
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Plaintiffs’ Item 303-based claims in the FAC, the Court held that Plaintiffs failed to plead facts

demonstrating that GE’s purported omissions were made under circumstances that “give rise to a

strong inference of scienter.”     Order at 26.     The Court concluded that the non-fraudulent

inference—“that Defendants did not realize the brewing storm in their LTC portfolio, masked in

part by out-of-date actuarial assumptions and sloppy practices, and then made disclosures and

adjustments as they learned about the scale of the problem”—was more compelling than the

inference of fraud. Id. at 27-28. Plaintiffs now repeat their Item 303-based “trend” theory, relying

on essentially the same facts as they did in the FAC. ¶¶ 228-29. Plaintiffs also present an

alternative but similar version of this claim, alleging that the “Significant Trends & Development”

sections in some of GE’s Form 10-Qs were materially misleading because they did not disclose

the same supposed trends. ¶¶ 234-38. These amendments do not save Plaintiffs’ claims.

                       a.      GE’s LTC Disclosures Did Not Violate Item 303

       Plaintiffs still fail to plead particularized facts that would establish the existence of a trend

or uncertainty that would have a material impact on GE’s financial condition—let alone facts that

would establish Defendants’ contemporaneous knowledge or reckless disregard of the same. See

17 C.F.R. §§ 229.303(a)(1), (a)(3) (an issuer must “describe any known demands, commitments,

events or uncertainties that will result in or that are reasonably likely to result in the registrant’s

liquidity increasing or decreasing in any material way,” or “any known trends or uncertainties that

have had or that the registrant reasonably expects will have a material favorable or unfavorable

impact on net sales or revenue or income from continuing operations”). An alleged failure to make

a disclosure required by Item 303 can serve as the basis for a Section 10(b) claim only if it is

material and all of the other requirements to sustain such a claim (including scienter) are met. See

Order at 26; Indiana Pub. Ret. Sys. v. SAIC, Inc., 818 F.3d 85, 94 n.7 (2d Cir. 2016). In lieu of



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facts, Plaintiffs merely cite to the same PowerPoints vaguely described by FE-2 and the opinions

from Mr. Axene discussed above. 21 ¶¶ 131-48, 152, 156. These allegations are insufficient.

       As the Court recognized, GE periodically disclosed uncertainties stemming from adverse

claims experience in its LTC portfolio, as they became known to GE. See Order at 28-29.

Plaintiffs continue to argue that GE knew and should have disclosed more than it did about its

LTC policies and their associated risk, but Item 303 does not impose that burden. See id. at 18.

Indeed, Plaintiffs still concede the “ineluctable fact” that “GE’s annual deficiency testing showed

positive results through and including 2016,” id. at 28; ¶¶ 92, 188, and cannot dispute that the

timing and number of disclosures GE made about its LTC reserves “contradicts an inference of

scienter,” Order at 28. As before, the more compelling inference is that GE’s incremental

disclosures and write-downs reflect, if anything, “poor accounting and prognostication”—not

fraud. Id. at 29.

                      b.      The Significant Trends & Developments Sections In GE’s 10-Qs
                              Were Not Misleading

       Based on this same flawed “trend” theory, Plaintiffs newly allege that certain of GE’s 10-

Qs from Q1 2015 to Q3 2017 were rendered misleading because GE spoke “affirmatively on the

topic of ‘Significant Trends & Developments’” and therefore had a duty to (but did not) make

“disclosure[s] concerning its LTC exposure.” ¶ 234. That also fails.

       First, GE’s disclosure of information totally unrelated to LTC under a discretionary section

called “Significant Trends & Developments” in select 10-Qs prior to Q2 2017 did not create a duty

to speak about LTC, much less disclose specific information about GE’s LTC policies and the



21
        In addition to the deficiencies with these PowerPoints already discussed, Plaintiffs do not
allege what information stated or otherwise made clear that “claims experience” was a trend or
uncertainty that was reasonably likely to have a material impact on GE’s financial position,
liquidity, or reserves, let alone that any Defendant believed (or even understood) the same. ¶ 135.
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alleged industry-wide negative claims experiences, ¶ 228. See, e.g., Order at 32-33 (duty to speak

“triggered only by speaking on a specific ‘issue or topic’”); Diehl v. Omega Protein Corp., 339 F.

Supp. 3d 153, 163-64 (S.D.N.Y. 2018) (no disclosure violation where defendant disclosed

requirements of plea agreement, but not defendants’ compliance with those requirements, as they

were “different topics”). Second, with respect to GE’s subsequent, voluntary disclosures in Q2

and Q3 2017 that the Company had “experienced elevated claim experience for a portion of [its]

long-term care insurance products” that could necessitate an earnings charge in later filings, see

Ex. 40, Q2 2017 10-Q, at 30, Ex. 42, Q3 2017 10-Q, at 31, Plaintiffs fail to allege how these

truthful statements were rendered misleading by the omission of more specific information about

GE’s LTC business. See In re Bank of Am. AIG Disclosure Sec. Litig., 980 F. Supp. 2d 564, 579-

82 (S.D.N.Y. 2013) (broad risk disclosures not misleading for omitting specific risks because “a

corporation is not required to reveal all facts on a subject just because it reveals a single fact”).

       Finally, Plaintiffs again fail to adequately plead scienter.           Regardless of whether

Defendants were duty bound to include the information Plaintiffs claim (they were not), Plaintiffs

do not allege—through documentary evidence, confidential witnesses, or otherwise—that any

Defendant omitted any such information with the intent to defraud investors or with conscious

recklessness. That failure alone dooms their “trend” claims. See Order at 27-28; supra § I.A.3.a.

               4.      GE’s Public Statements Regarding LTC Were Not False Or Misleading

       Plaintiffs continue to challenge a number of statements made during the Class Period by

GE executives at conferences, in press releases, and on investor/analyst calls. As before, these

statements “fall into two rough categories: (1) statements about GE Capital’s LTC insurance

exposure and its overall portfolio risk; . . . and (2) claims made in 2017 about why GE did not

liquidate its remaining LTC insurance position.”          Order at 30.     Despite the Court’s clear

explanation as to the insufficiency of such allegations, the 5AC relies entirely on these same

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rejected allegations. Compare ¶¶ 259-68, with FAC ¶¶ 145-46, 334-49, 358; see Order at 30-36.

Absent new allegations, these claims “cannot survive,” Order at 34, and must be dismissed again.

               Plaintiffs’ LTSA Claims Should Be Dismissed In Their Entirety

       Plaintiffs’ LTSA claims fare no better. Plaintiffs now retreat from the primary theories of

liability advanced in the FAC. The FAC alleged that Defendants falsely reported GE’s contract

assets and other LTSA metrics, violated several provisions of GAAP, and made other false or

misleading statements regarding GE Power’s LTSA business. See FAC ¶¶ 368-98. This Court’s

Order was crystal clear, however: none of those claims held water. Notwithstanding the Order’s

invitation to “allege additional facts” that would state fraud with particularity or “permit Plaintiffs

to clear the scienter bar,” Order at 56, the 5AC simply drops the lion’s share of Plaintiffs’ claims.

Plaintiffs now hinge their case on the legal theories that were originally their proverbial “Plan B.”

For the reasons discussed below, Plaintiffs’ factual allegations are plainly insufficient.

               1.      GE’s LTSA And Factoring Disclosures Did Not Violate Item 303

       Plaintiffs now rely principally on Item 303 as a basis for their LTSA claims. See supra

§ I.A.3. Just like in the FAC, Plaintiffs continue to insist that, under these provisions, Defendants

were required to disclose (i) GE Power’s alleged “extensive reliance on modifications to LTSAs”

in order to drive cumulative catch-up adjustments, ¶¶ 321, 358-85, 407-08, 414-20; Order at 42-

44; (ii) alleged declines in the “utilization of GE-serviced power equipment,” ¶¶ 321, 346-57, 407-

13; Order at 44; and (iii) GE Power’s alleged “widespread reliance on factoring” of LTSAs to

manage liquidity, ¶¶ 321, 386-405, 407-08, 421-25; Order at 44-46. But the 5AC simply fails to

plead particularized facts that would establish the existence of any of the foregoing trends, let alone

that would show they were presently known to or recklessly disregarded by any of the Defendants.

These deficiencies are fatal to each of Plaintiffs’ Item 303 claims.



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                       a.     Plaintiffs’ Item 303 Claim Based Upon LTSA Modifications And
                              Cumulative Catch-up Adjustments Fails

       The Court already rejected Plaintiffs’ theory that Item 303 required the disclosure of LTSA

modifications—including modifications that would allegedly “de-scope” those agreements, or

allow customers to defer payments thereunder—because Plaintiffs failed to allege facts that would

“permit a plausible inference” that those modifications were “‘reasonably likely’ to have a material

impact on GE.” See Order at 42-44. The Court specifically noted that “there [we]re no allegations

of how many LTSAs were ‘de-scoped,’ or how many customers’ payments were deferred, or what

overall effect such modifications would have on GE’s overall financial position.” Id. at 43.

       Despite this Court’s guidance as to what Plaintiffs must plead, the 5AC still does not even

attempt to allege how many LTSAs were “de-scoped,” or how many customers’ payments were

deferred, or what effect the alleged LTSA modifications would have on GE’s overall financial

position. Nor does it allege, for instance, by how much “long-term revenue and cash flows” were

“cut” through removing admittedly lower margin labor from LTSAs, ¶¶ 361, 366, 417, or by how

long customers’ payment terms were deferred, ¶¶ 367, 418, or how many LTSAs made up GE

Power’s global portfolio and how many had already been renegotiated, ¶¶ 363, 416. Accordingly,

Plaintiffs’ Item 303 claims concerning GE’s LTSA modifications and cumulative catch-up

adjustments again fail.22 See City of Warwick Mun. Emps. Pension Fund v. Rackspace Hosting,

Inc., 2019 WL 452051, at *8 (S.D.N.Y. Feb. 5, 2019) (dismissing Item 303 claim where plaintiffs

failed to make “allegations addressing the ‘anticipated magnitude’” of the undisclosed event).



22
        As Defendants pointed out in their prior Motion, see Mot. 29, the MD&A sections in GE’s
Form 10-Ks disclosed the portion of its revenue attributable to cumulative catch-up adjustments.
See, e.g., Ex. 13, 2013 10-K, at 74; Ex. 19, 2014 10-K, at 85-86; Ex. 24, 2015 10-K, at 87; Ex. 33,
2016 10-K, at 90; Ex. 39, Q1 2017 10-Q, at 36, 44; Ex. 40, Q2 2017 10-Q, at 37, 45; Ex. 41, Q3
2017 Earnings Call Tr., at 8. Plaintiffs are thus wrong that Defendants failed to disclose the
magnitude of GE Power’s cumulative catch-up adjustments.
                                                25
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        Moreover, as this Court previously recognized, “[t]he other complained-of practices had

the direct or indirect effect of reducing GE’s future revenues (by, for instance, increasing the risk

of customer non-payment), but none allowed GE to book catch-up revenues in the way that

Plaintiffs describe,” and thus there was “no ‘trend’ . . . that Defendants needed to disclose.” Order,

at 43. As such, “Plaintiffs’ theory of fraud does not ultimately hang together.” Id. at 42. Plaintiffs

provide no new ways that GE supposedly generated cumulative catch-up adjustments, nor do they

offer facts that dispute this Court’s prior conclusion. Plaintiffs just repeat their prior allegation

that “deferred payment . . . reduced the likelihood of collectability,” ¶ 418; see FAC ¶ 275 (same),

without tying such allegation to any cumulative catch-up adjustments.

        Nor do Plaintiffs’ allegations regarding the adoption of ASC 606’s revenue recognition

amendments, ¶¶ 380-85, save their claims. In the FAC, Plaintiffs claimed that the fact that GE’s

contract asset balance was lower under a new accounting standard is somehow evidence that GE

was incorrectly reporting its revenues under the old standard. FAC ¶¶ 299-300, 308-15. This

Court rejected that argument, finding that “the fact that Defendants knew a new accounting

standard was coming into effect in the future,” showed nothing about what Defendants believed

“under then-existing accounting standards.” Order at 38-39 (emphasis in original). Plaintiffs try

to twist that exact same allegation into an Item 303 violation, but it fares no better there. See ¶ 364.

The difference between GE’s contract asset balance under ASC 605 and ASC 606 says nothing

about “unsustainable” business practices, ¶ 416; see ¶¶ 363-64, much less evidences any “trend”

that had to be disclosed under Item 303.23 See Friedman v. Endo Int’l PLC, 2018 WL 2021561,



23
       Plaintiffs provide no support for their incorrect contention that, through the required ASC
606 recast, GE “effectively wrote down the value of LTSA Contract Assets,” ¶ 437; as Defendants
previously explained, ASC 606 required GE to “recast what its prior years’ revenue would have
been under the new accounting standard,” Mot. 23. The ASC 606 recast was not a write-down.
GE has never said that its LTSA contract asset balance under ASC 605 was overstated.
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at *2 (S.D.N.Y. Apr. 27, 2018) (Furman, J.) (rejecting Item 303 claim that was “merely a

repackaged version of [plaintiffs’] central argument in the [prior] Complaint”), aff’d sub

nom. Steamfitters’ Indus. Pension Fund v. Endo Int’l PLC, 771 F. App’x 494 (2d Cir. 2019).

       The 5AC also fails to allege any facts establishing the requisite strong inference of scienter.

Once again, Plaintiffs offer only generalized statements from FEs as to what Defendants might

have seen. The 5AC repeats the same allegations about: (i) two software programs that FE-5

believed “all commercial people” used and could access, ¶ 375; (ii) “quarterly status reports” that

FE-7 wrote “for the controller in Europe to send to GE’s corporate headquarters,” and that he

believed were passed along to “GE’s Global Controller, who then delivered them to Hauser,”

¶¶ 377, 404; and (iii) FE-10’s “belie[f that] there were instances where the models concluded a

negative cumulative catch-up adjustment was needed in light of changing conditions, but those

results were ignored,” ¶ 376. See FAC ¶ 267 (alleging same FE-5 statements), ¶ 269 (alleging

same FE-7 statements), ¶ 268 (alleging same FE-10 statements). But these allegations from the

FAC remain insufficient. None says anything about what Defendants actually knew or saw, and

for that reason, they cannot establish scienter. See, e.g., Campo v. Sears Holdings Corp., 371 F.

App’x 212, 217 (2d Cir. 2010) (rejecting allegations regarding alleged access to reports because

confidential witness “had no knowledge of whether [individual defendants] actually accessed or

reviewed the reports”); Goplen v. 51job, Inc., 453 F. Supp. 2d 759, 768 (S.D.N.Y. 2006)

(dismissing complaint for failing “to identify any documents, meetings, or reports that show that

defendants knew or should have known that the [company’s] revenues were misstated”).

       Furthermore, even if any Defendant saw these vaguely described documents, there is no

allegation that any Defendant knew of a trend that would trigger an Item 303 disclosure obligation.

Plaintiffs must do more than plead that Defendants should have known of an adverse trend; they

must allege Defendants’ actual knowledge of that trend. See Das v. Rio Tinto PLC, 332 F. Supp.

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3d 786, 810 (S.D.N.Y. 2018). Unless a trend both exists and is known, Item 303 liability cannot

attach. See Axar Master Fund, Ltd. v. Bedford, 308 F. Supp. 3d 743, 758 n.90 (S.D.N.Y. 2018)

(“Item 303 requires the registrant to disclose only those trends, events, or uncertainties that it

actually knows of when it files the relevant report with the SEC.”).

        Lastly, Plaintiffs allege (and have previously alleged, see FAC ¶ 319), “Defendants GE,

Immelt, Bornstein, Miller, Sherin, and Hauser were hyper-focused on GE Power and the impact

of ASC 606” prior to its implementation, ¶ 370. It is hardly surprising (as Plaintiffs already

observed in ¶ 319 of the FAC) that senior management (including two CFOs and a CAO) would

find it important that GE understand and comply with a new authoritative accounting rule. That

allegation does nothing to establish scienter.

                        b.      Plaintiffs’ Item 303 Claim Based Upon Alleged Declining
                                Utilization Fails

        Plaintiffs’ next Item 303 theory is that Defendants knew of but failed to disclose declining

customer utilization trends in GE Power’s LTSA business. See ¶¶ 346-57, 407-13. Plaintiffs have

already advanced this theory, though the Court previously “decline[d] to consider [it]” because

they did so for the first time in briefing on Defendants’ Motion to Dismiss the FAC.24 Order at

44. Plaintiffs fail to allege the requisite facts to support such a claim.

        Plaintiffs ignore that the allegedly non-disclosed information was, in fact, disclosed.

Plaintiffs allege that “Defendants were required to disclose whether the declining utilization of

GE-serviced assets under LTSAs was reasonably expected to have a ‘material . . . unfavorable



24
        Plaintiffs’ claims related to utilization trends are also barred in part by the five-year statute
of repose. See Order at 14-15. Specifically, Plaintiffs’ Item 303 claim must be dismissed to the
extent it is based upon any of GE’s Forms 10-Q filed in 2013 (on May 8, July 26, and November
1), the 2013 Form 10-K (filed on February 27, 2014), or the first two Forms 10-Q filed in 2014
(on May 12 and July 31) because they were filed before October 25, 2014, i.e., five years before
Plaintiffs filed the 5AC on October 25, 2019. See 28 U.S.C. § 1658(b); Order at 14-15.
                                                   28
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impact on . . . liquidity’ (i.e., CFOA) and the extent to which that trend was reasonably expected

to impact GE’s Industrial CFOA.” ¶ 412. Beginning with its annual report for 2014, each of GE’s

Form 10-Ks specifically stated that a significant trend and development in GE’s Power business

was that “[e]xcess capacity in developed markets”—i.e. that demand for power was less than what

GE potentially could supply to the market—had resulted in “uncertainty for the industry and

business.” See Ex. 19, 2014 10-K, at 33; Ex. 24, 2015 10-K, at 38; Ex. 33, 2016 10-K, at 38. GE

also disclosed, among other things, that uncertainty was driven by “continued pressure in oil and

gas applications and macroeconomic and geopolitical environments,” e.g. Ex. 24, 2015 10-K, at

38, and that it was “seeing growth in renewable energy industries” which benefited GE’s

Renewables business, but that growth was “offset by the decline in the oil & gas industry,” id. at

47. The challenges in power demand were made explicit: GE saw “soft demand in the North

American electrical distribution market, slow economic recovery in Europe, and continued soft

demand in other parts of the developed world.”25 E.g., id. These disclosures encompass the very

topics Plaintiffs claim GE was required to disclose and foreclose Plaintiffs’ Item 303 claim based

upon adverse power trends. See, e.g., Barilli v. Sky Solar Holdings, Ltd., 389 F. Supp. 3d 232, 257

(S.D.N.Y. 2019) (rejecting Item 303 claim based on failure “to disclose the state of the Japanese

regulatory environment” where public filings “described the regulatory changes underway in the

Japanese market”); Schaffer v. Horizon Pharma PLC, 2018 WL 481883, at *14 (S.D.N.Y. Jan. 18,

2018) (rejecting claim where the “‘trend’ identified by Plaintiffs . . . was explicitly identified”).


25
        The MD&A section of each of GE’s Class Period 10-Ks and 10-Qs also warned investors
of GE’s susceptibility to worsening energy market conditions, specifically disclosing for example
that “reduced energy demand in [GE’s] Power & Water business could affect [its] ability to fully
recover [its] contract costs and estimated earnings,” and that “[i]f slower growth in the global
economy continues for a significant period or there is significant deterioration in the global
economy, [GE’s] results of operations, financial position and cash flows could be materially
adversely affected.” Ex. 13, 2013 10-K, at 19; see also, e.g., Ex. 19, 2014 10-K, at 114-15; Ex.
24, 2015 10-K, at 118; Ex. 33, 2016 10-K, at 123.
                                                  29
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       Even without these express disclosures, however, Plaintiffs’ claims would still fail. In

support of Plaintiffs’ Item 303 claims, they offer most of the same allegations as in the FAC, which

the Court found insufficient under Plaintiffs’ now-abandoned theory that GE improperly

manipulated its LTSA accounting. E.g., compare ¶ 347 (“[F]rom 2010 into the Class Period, GE

realized through its monitoring of customer utilization that usage of oil and gas turbines by

customers was down 80-90%.”), with FAC ¶ 254 (same); compare ¶ 356 (using a one-year, rather

than a three-year, average would have a “negative impact on GE’s global cumulative catch-up

adjustments”), with FAC ¶ 259 (same); compare ¶ 340 (PricewaterhouseCoopers report stating

that demand “declined in five of th[e] years” between 2005 and 2014), and ¶ 341 (Department of

Energy statistics), with FAC ¶ 253 (same). Those allegations are no more compelling when re-

cast as Item 303 violations, as the 5AC pleads no facts establishing that any FE had a basis of

knowledge for their statements,26 or the existence of any particular portfolio-wide trend in

utilization, let alone the actual or expected material financial impact of any such trend.27



26
        For instance, the 5AC pleads no facts suggesting that FE-5—a European “Commercial
Manager” who had nondescript “responsibilities” with respect to “thermal power generation
plants” and “related LTSAs”—would know about utilization trends across GE’s entire LTSA
portfolio during the Class Period, particularly given that FE-5 left GE in 2013. See ¶ 65; see also
ECF No. 180, at 9-10. Nor does the 5AC establish that FE-7—who was a “Risk Finance Leader”
based in Milan, three reporting levels down from the CFO of the Power Generation Services
subdivision of GE Power—was in a position to evaluate utilization trends outside of Europe, let
alone across GE Power’s global portfolio. See ¶ 66. Accordingly, the Court need not credit the
allegations of these FEs. See In re Weight Watchers Int’l, Inc. Sec. Litig., 2016 WL 2757760, at
*6 (S.D.N.Y. May 11, 2016) (rejecting claim where confidential witness “was not in a position to
know whether the growth rate in that business segment was in decline”).
27
         For example, FE-5’s statement—regarding a decline in customer utilization between 2010
and some later date “in[] the Class Period,” see ¶ 347—says nothing about what specific impact
that alleged decline had or was expected to have on GE’s financials during the Class Period, failing
even to specify what portion of the decline (if any) took place therein. See In re Francesca’s
Holdings Corp. Sec. Litig., 2015 WL 1600464, at *18 (S.D.N.Y. Mar. 31, 2015) (rejecting Item
303 claim based on alleged deteriorating vendor relationships where complaint failed to plead any
changes in vendor pricing or terms “in a non-conclusory manner”); see also ECF No. 180, at 10.

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       On top of these deficient allegations, the 5AC adds only more supposition and

generalization by two other low-level former employees, FE-11 and FE-12. FE-12’s contention

that “utilization rates were tracked in real time by sensors in all GE-serviced equipment” tells

nothing about what the resulting data showed (and to whom) or whether there was a trend requiring

disclosure. ¶ 349; In re Tempur Sealy Int’l, Inc. Sec. Litig., 2019 WL 1368787, at *6-7, *10-11

(S.D.N.Y. Mar. 26, 2019) (rejecting Item 303 claim where “witness statements relied upon” did

not “support the assertions based upon them”). Similarly deficient are FE-11’s allegations that

“everyone knew” about the downturn in the global energy market. ¶ 343. The FEs cannot muster

any allegations as to how much GE’s customers’ utilization declined in any given region, whether

that regional decline had a material impact on Power’s financials, how long that decline was

sustained, whether or how long that lower utilization was expected to continue, or any other

information from which the Court can infer a trend for purposes of Item 303. Instead, the 5AC

simply contends that reports showed that “the European market had gone to renewables” and “told

the same story” on “the U.S. side,” which is plainly insufficient. ¶ 343. See, e.g., In re Coty Inc.

Sec. Litig., 2016 WL 1271065, at *6-7 (S.D.N.Y. Mar. 29, 2016) (“generic allegations” that,

“starting in late 2012, sales . . . were ‘struggling,’ ‘underperform[ing],’ ‘forecasted to be down,’

and ‘smaller than expected’” failed to plead a trend requiring disclosure under Item 303).

       Finally, Plaintiffs plead no facts that would establish that any Defendant recklessly

disregarded the alleged known utilization trend.         Plaintiffs’ contention that Defendants’

recklessness can be inferred because of the “disparity between the actual run rates GE monitored




Likewise, FE-7’s statement regarding modeling LTSA utilization on a one-year, as opposed to
three-year, average of historical data—which does not even attempt to allege the actual financial
impact thereof—fares no better, ¶ 356. See Johnson v. Sequans Commc’ns S.A., 2013 WL 214297,
at *12 (S.D.N.Y. Jan. 17, 2013) (rejecting Item 303-equivalent claim where “[p]laintiffs [did] not
plausibly allege[] that. . . the [relevant] industry was in steep decline” at the relevant time).
                                                31
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in real time and the expected future run rates, and the three-year average rates that GE chose to

employ in quantifying and reporting its Contract Assets,” ¶ 357; see ¶¶ 409-10, is nonsense. As

an initial matter, Plaintiffs concede that GE’s three-year average incorporated the very same “real

time” utilization data they now claim should have been disclosed, ¶¶ 356-57, “just not,” as this

Court recognized, “as quickly as Plaintiffs might have liked,” Order at 38. As such, even crediting

FE-5’s vague allegation that GE’s internal data reflected that utilization “was down 80-90%” from

“2010 into the Class Period,” ¶ 347, it would mean that the entire alleged drop in utilization was

captured by and incorporated into GE’s LTSA contract asset balance. ¶¶ 356-57.28 In other

words, the fact that GE incorporated any alleged utilization declines it observed into its contract

assets is wholly inconsistent with recklessness approaching conscious misconduct on the part of

Defendants. See, e.g., City of Pontiac Policemen’s & Firemen’s Ret. Sys v. UBS AG, 752 F.3d

173, 186 & n.62 (2d Cir. 2014) (concluding that a company’s disclosures about mortgage exposure

“undercut the inference that defendants knew or recklessly disregarded” the risk of misleading

investors about their risk management and overall exposure). And of course, none of the FEs

alleges that any Defendant ever actually saw—or even knew about—the vague “analyses” or

“data” regarding utilization declines, which Plaintiffs allege would have been conveyed through

levels of management to Defendants, ¶¶ 343, 347-50, 356; see Glaser v. The9, Ltd., 772 F. Supp.

2d 573, 594 (S.D.N.Y. 2011) (rejecting credibility of confidential witnesses in part due to lack of

allegations “that those sources ever had any contact with anyone at the [defendant company], much

less with the Individual Defendants”).29



28
        Notwithstanding Defendants’ invitation in briefing on the FAC, see Mot. 22, Plaintiffs have
yet to articulate why the business decision to use a three-year utilization average to estimate future
revenues on contracts that last as long as 25 years, see ¶ 328, is improper, let alone fraudulent.
29
      For the same reasons that the 5AC fails to plead scienter, Plaintiffs also fail to plead any
Defendant’s actual knowledge of any such trends. Francesca’s, 2015 WL 1600464, at *17.
                                                 32
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                       c.      Plaintiffs’ Item 303 Claim Based Upon Factoring of LTSA
                               Receivables Fails

       Defendants respectfully submit that, notwithstanding the Court’s prior Order, no Item 303

factoring claims should proceed. As with its claims regarding LTSA modifications, the 5AC lacks

even basic allegations regarding how many GE Power LTSAs were factored or for which

customers, the specific terms or “negative consequences” of any such factoring arrangements,

¶ 398, or the actual or expected impact of factoring on GE’s CFOA at any time, cf. Order at 43-

44. In lieu of any quantifiable factoring allegations, Plaintiffs rely on FE-9’s statement, which the

Court previously credited, that GE was factoring “everything” in its Power and Renewable

Divisions. Order at 44-46. But FE-9’s sweeping allegation does not withstand scrutiny. As the

5AC makes clear, FE-9 did not even work in Power during the time period Plaintiffs claim GE

was factoring Power receivables. See ¶ 400 (asserting that FE-9 “was aware of factoring within

the Power Division while he worked in the Renewable Division because Power and Renewable

were under the same management umbrella with the same approval chain up until 2014 or 2015”).

As a result, and based on his own allegations, FE-9 would not have been aware of Power’s LTSA

factoring after 2015, which is before another FE cited by Plaintiffs alleges factoring of Power

LTSAs even had been conceived. ¶¶ 394-95; cf. Order at 44-45. Instead, at most (and by his own

admission), FE-9 only was aware of factoring in GE’s Renewable Energy segment—not Power—

during the Class Period. The Renewable Energy segment is not the subject of any of Plaintiffs’

claims (for good reason). See ¶¶ 20, 340, 343 (describing alleged decline in power market, and

concurrent growth of renewable energy market).

       Without FE-9’s generalized allegation that GE was factoring “everything” in Power,

Plaintiffs are left with factoring allegations attributed to FE-7, whom Plaintiffs note served as a

paid “consultant for prior counsel.” ¶ 66 n.4. But FE-7 too only speaks generically about factoring


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“as often as possible” and “negative consequences,” ¶¶ 398, 401, without even attempting to

demonstrate a “reasonably likely” (let alone material, and known to GE) impact that Power’s

factoring of LTSAs would have on GE’s overall liquidity and financial condition. See Rackspace

Hosting, Inc., 2019 WL 452051, at *8 (dismissing Item 303 claim where plaintiffs failed to allege

“anticipated magnitude” of undisclosed event against “the totality of [the company’s] activity”).

       Appropriately discounting these allegations, as this Court should, reveals just how thin

Plaintiffs’ three pages of allegations regarding factoring in their 165-page 5AC are. ¶¶ 393-405.

Plaintiffs repeat FE-9’s vague allegation that Mr. Bornstein stated, at an internal meeting in June

2017, which FE-9 does not even claim he attended, that GE was “‘in too deep’ to depart from the

practice” of factoring. ¶ 402. Not only is FE-9’s allegation inconsistent with Plaintiffs’ own theory

that GE already was forced to “depart from the practice” of factoring by the end of 2016, see ¶ 401,

Mr. Bornstein’s alleged statement in June 2017 says nothing about his state of mind with respect

to alleged factoring-related issues prior to that date. Moreover, Plaintiffs cannot dispute that GE

disclosed in the MD&A sections of its public filings not only that it factored current customer

receivables, but the amount of CFOA that resulted from those transactions. E.g., Ex. 33, 2016 10-

K, at 87. And beginning with its Form 10-K for 2017, GE made additional disclosures surrounding

the amounts of long-term receivables that it factored. See Ex. 43, 2017 10-K, at 80. Accordingly,

Defendants respectfully maintain that the Court should dismiss Plaintiffs’ factoring-based Item

303 claims.30


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        If Plaintiffs’ factoring-based claims are the only ones to survive, Plaintiffs cannot proceed
on a “corrective disclosure” theory of loss causation. Plaintiffs cannot rely on GE’s purported
“revelation” in its 2017 10-K that it engaged in factoring also to “manage short-term liquidity” to
prove loss causation, ¶ 428, given that GE filed its 2017 10-K on February 23, 2018, Ex. 43, one
month after the end of the Class Period on January 23, 2018. See Lighthouse Fin. Grp. v. Royal
Bank of Scotland Grp., PLC, 2013 WL 4405538, at *10 (S.D.N.Y. Aug. 5, 2013) (“[R]evelation
[that] occurred more than a month after the close of the proposed class period … cannot be a

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       Moreover, Plaintiffs’ Item 303 claims as to 2015 factoring should be dismissed for the

additional reason that inconsistencies in Plaintiffs’ three-page narrative regarding GE Power’s

factoring LTSA receivables demonstrate that factoring was not a “trend” in 2015. Plaintiffs

initially claim that GE “resorted to factoring” beginning “in 2015,” ¶ 393, and FE-9 apparently

claims he was aware that GE Power was factoring “everything” in “2014 or 2015,” ¶ 400. But

elsewhere in the 5AC, FE-7 claims that during the “first through third quarters of 2016” GE began

its factoring program, ¶¶ 394-95, adding that “Kevin Weber” was hired “in early 2016 specifically

to lead the global monetization effort,” ¶ 403. The Court need not credit Plaintiffs’ factoring theory

if Plaintiffs cannot even articulate a coherent explanation of when they claim factoring was

“widespread.” ¶ 321. See In re GeoPharma, Inc. Sec. Litig., 411 F. Supp. 2d 434, 466 n.83

(S.D.N.Y. 2006) (illogical allegations do not raise a strong inference of scienter).

       Finally, the Court’s prior Order dismissed Plaintiffs’ factoring-based Item 303 claims as to

Messrs. Immelt, Sherin, and Laxer and Mmes. Miller and Hauser, see Order at 46, and noted that

“there [we]re no allegations of widespread factoring prior to 2015” in the FAC, id. at 46 n.22.

Nonetheless, Plaintiffs continue to allege without any factual foundation whatsoever that there

were Item 303 violations by all Defendants collectively “throughout the Class Period beginning

no later than the 2014 10-K, or in the Company’s 10-Qs filed thereafter.” See, e.g., ¶ 425.

Plaintiffs have provided no basis for revisiting the Court’s prior ruling dismissing the factoring-

based claims as to Messrs. Immelt, Sherin, and Laxer and Mmes. Miller and Hauser, as well as

any alleged violations before 2015, and the Court should again dismiss those claims for the same

reasons articulated in the Order. See Order at 46.




corrective disclosure sufficient to establish loss causation.”). If these claims survive, Plaintiffs
must proceed on some other loss causation theory.
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               2.     GE’s Public Statements Regarding LTSA Contract Assets And Factoring
                      Were Not False Or Misleading

       In addition to their Item 303 omission claims, Plaintiffs also bring claims based upon

alleged misrepresentations by Defendants, see ¶¶ 322, 426-37—most of which were already

challenged in the FAC, see Order 46-54; FAC ¶¶ 379, 381, 383, 385. Plaintiffs no longer base

their claims upon GE’s Form 10-K disclosures regarding the manner in which GE’s contract assets

were determined, see Order at 47-49; see also, e.g., FAC ¶¶ 370-76, or the impact of ASC 606,

see, e.g., FAC ¶¶ 377-78. Rather, in the 5AC, Plaintiffs attack five statements—three of Mr.

Bornstein’s statements from early 2017, which Plaintiffs unsuccessfully challenged in connection

with the FAC, one new statement from Mr. Bornstein that they challenge for the first time in the

5AC, and one statement that previously survived dismissal of the FAC. Plaintiffs’ claims all fail.

       With respect to the three statements that this Court already found insufficient to sustain a

claim—i.e., Mr. Bornstein’s remarks on GE’s Q4 2016 earnings call, ¶¶ 429-31; FAC ¶ 381, at the

February 22, 2017 Barclays Industrial Select Conference, ¶¶ 432-33; FAC ¶ 383, and on GE’s Q1

2017 earnings call, ¶¶ 434-35; FAC ¶ 385—the 5AC does nothing to cure the deficiencies

identified in the Order. Order at 50-54. In particular, Plaintiffs do not allege any new facts that

would undermine any of the Court’s findings that these accurate statements were not actionable.

Order at 50-51, 51 n.24, 53-54. Each of these claims thus again should be dismissed.

       In addition to statements they previously challenged in the FAC, Plaintiffs also attack other

remarks by Mr. Bornstein on GE’s Q1 2017 earnings call. ¶¶ 436-37. Specifically, Plaintiffs

challenge Mr. Bornstein’s statement regarding his “expect[ation]” that “service contracts where

we’ve incurred cost and booked the revenue, but haven’t yet billed the customer” would “partly

come back over the year as we see higher asset utilization in Power and Aviation.” ¶ 436.

Plaintiffs allege that these statements were false or misleading because “throughout the Class


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Period, utilization of Power-serviced assets was drastically down.” ¶ 437 (citing ¶¶ 340-57). But

Mr. Bornstein’s own “expect[ation]” as to what would happen in the future is plainly an opinion

statement—one that Plaintiffs have not adequately alleged he disbelieved or did not rest on a

meaningful inquiry. See Frankfurt-Tr. Inv. Luxemburg AG v. United Techs. Corp., 336 F. Supp.

3d 196, 227 (S.D.N.Y. 2018), aff’d sub nom. Kapitalforeningen Lægernes Invest v. United Techs.

Corp., 779 F. App’x 69 (2d Cir. 2019) (statements about “expected future profitability” were

inactionable opinions). And in any event, Mr. Bornstein’s statement is also inactionable under the

PSLRA safe harbor for forward looking statements: the earnings conference call incorporated by

reference cautionary language that “margins; cost structure and plans to reduce costs; . . . [and]

cash flows, including the impact of working capital, contract assets and pension funding

contributions” were “uncertain.” See Ex. 36, Q1 2017 Earnings Call Tr., at 1; Ex. 38, “Caution

Concerning Forward Looking Statements” (Apr. 21, 2017), at 1; In re Ferrellgas, 2018 WL

2081859, at *12-13 (statement was “clearly forward-facing,” given that it “project[ed] future

results and incorporate[d] language, such as the words ‘expect’ and ‘expectation,’ that signal the

statements’ reference to future results”).31

       Finally, as to the one alleged misstatement claim this Court previously elected not to

dismiss—that GE’s Form 10-K for 2016 stated that GE engaged in factoring current receivables

“[i]n order to manage credit exposure,” ¶¶ 426-28; see Order at 51-53—Defendants respectfully

submit that it should now be dismissed. For the reasons discussed supra § I.B.2.c, the Court should

not credit the contradictory allegations of FEs who cannot string together a coherent theory.



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         Moreover, as discussed, nowhere does the 5AC allege particularized facts of turbine
customer utilization erosion at any particular point, let alone that “throughout the Class Period”
utilization was “drastically down.” See supra § I.B.1.b. Nor does it allege facts that would
establish Mr. Bornstein’s (or any other Defendant’s) reckless disregard of any such alleged
declines.
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Plaintiffs do not allege particularized facts establishing that GE was “factoring to shore up its

dwindling cash flow and mask the growing gap between contract assets and actual cash being

generated,” let alone that it was required to disclose the same. Order at 52. Notwithstanding the

Order, Defendants respectfully disagree that a reasonable investor would be led to believe GE

engaged in factoring only in order to “manage credit exposure,” and draw the Court’s attention to

the rest of the relevant disclosure, which adds that GE sells receivables “in part to fund the growth

of [its] industrial businesses.” See Ex. 33, 2016 10-K, at 87; see also In re ITT Educ. Servs., Inc.

Sec. & S’holder Derivatives Litig., 859 F. Supp. 2d 572, 579 (S.D.N.Y. 2012) (“statements are not

misleading [where] they do not suggest that the undisclosed improper activity alleged by Plaintiff

was not occurring”). These deficiencies warrant the dismissal of Plaintiffs’ LTSA claims.32

II.    THE 5AC FAILS TO PLEAD A SECTION 20(A) CLAIM

       In its Order, the Court dismissed all of Plaintiffs’ Section 20(a) claims based on related

dismissed primary violation claims. Order at 55-56. But, Plaintiffs’ Section 20(a) claims based

on the two primary violation factoring-related claims survived, on the basis that the parties had not

sufficiently briefed those claims. Id. An actionable Section 20(a) claim requires a primary

violation, control of the primary violator, and culpable participation in the controlled person’s

fraud. See Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 750 F.3d 227, 236 (2d

Cir. 2014). Here, Plaintiffs fail to plead any Individual Defendant’s liability under Section 20(a).

       First, Plaintiffs’ Section 20(a) claims all fail because the 5AC does not plead a single

primary violation. Second, Plaintiffs raise nothing more than conclusory allegations regarding

each Individual Defendant’s purported control over GE, e.g., ¶¶ 529-30, and fail to allege how the

several Individual Defendants who worked at GE subsidiaries for the majority of the Class Period


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       Plaintiffs repeat their SOX certifications allegations, ¶¶ 45, 46, 48, 49, 377-78, but add
nothing new to their almost identical allegations that this Court previously rejected. Order at 54.
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could have “control[led]” GE for purposes of Section 20(a). See Kalin v. Xanboo, Inc., 526 F.

Supp. 2d 392, 405 (S.D.N.Y. 2007) (plaintiffs “must allege facts from which it can be inferred that

the defendant had actual power or influence over the controlled person”). For example, Ms. Miller

worked at GE Transportation for the majority of the Class Period, from 2015 to late 2017, ¶ 47;

Mr. Sherin served as CEO of GE Capital from July 2013 to September 2016, ¶ 48; and Mr. Laxer

worked at GE Capital throughout the entire Class Period, ¶ 50.33

       Third, Plaintiffs fail to plead each Individual Defendant’s “culpable participation.” The

weight of authority in this Circuit requires Plaintiffs to plead “culpable participation” in any

primary violation under Section 20(a), with the same particularity required to plead scienter, see,

e.g., Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA Ltd., 33 F. Supp. 3d

401, 438 (S.D.N.Y. 2014) (“Section 20(a) liability requires an ‘individualized determination ... of

the defendant [control person’s] particular culpability.’”); In re ShengdaTech, Inc. Sec. Litig., 2014

WL 3928606, at *10 (S.D.N.Y. Aug. 12, 2014) (observing that “most courts have held that the

PSLRA’s heightened pleading requirements apply to the culpable participation element [and] that

the plaintiff must ‘plead with particularity facts giving rise to a strong inference’ of the requisite

state of mind,” and dismissing Section 20(a) claims where plaintiff failed to plead recklessness

with the particularity required by the PSLRA); In re Inv. Tech. Grp., Inc. Sec. Litig., 2018 WL

1449206, at *8 (S.D.N.Y. March 23, 2018) (same). Accordingly, to plead culpable participation,

Plaintiffs must plead particularized facts of each Individual Defendant’s conscious misbehavior or


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        Neither Mr. Sherin’s signature on GE’s 2012 10-K and Q1 2013 10-Q (both of which were
dismissed with prejudice, Order at 15), nor Ms. Miller’s signature on GE’s 2012 10-K, show that
either exercised control of GE during the entire Class Period. An allegation of control also cannot
extend past dates of employment, In re Braskem S.A. Sec. Litig., 246 F. Supp. 3d 731, 771
(S.D.N.Y. 2017), which precludes liability against Mr. Sherin for any primary violations that
occurred after his departure in December 2016, ¶ 48, for Messrs. Immelt and Bornstein for any
primary violations that occurred after their departures in October 2017, ¶¶ 45-46, and for Ms.
Hauser for any primary violations that occurred prior to her joining GE in April 2013, ¶ 49.
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recklessness; i.e., facts indicating that the controlling person “knew or should have known that the

primary violator, over whom that person had control, was engaging in fraudulent conduct.”

Special Situations, 33 F. Supp. 3d at 438-39 (dismissing Section 20(a) claim based on “a detailed

allegation of involvement” because it did not “amount to an allegation of conscious behavior”

sufficient to plead culpable participation). The 5AC contains no such allegations.

       As discussed supra §§ I.A-B, the 5AC, like the FAC, does not allege any factual basis to

show that any Defendant knew (or was guilty of conscious misconduct or recklessness in not

knowing) of any alleged fraud related to GE’s LTC reinsurance or Power LTSA businesses.

Alleging that a Defendant signed public filings with misleading statements is not sufficient to plead

culpable participation. See In re Cannavest Corp. Sec. Litig., 307 F. Supp. 3d 222, 256 (S.D.N.Y.

2018). Nor is it “proper to infer a defendant’s awareness of information that contradicts public

statements ‘solely because of his corporate position.’” In re Inv. Tech., 2018 WL 1449206, at *8.

And for the two factoring claims that survived previously, to the extent they survive in the 5AC,

Plaintiffs make no attempt to allege any Individual Defendant knew or should have known of any

fraudulent conduct involving factoring. With respect to Mr. Bornstein, for the reasons described

supra § I.B.1.c, FE-9’s vague recollection of his alleged June 2017 “‘in too deep’ to depart from

the practice of” factoring statement, ¶ 402, does not give rise to a strong inference of scienter, and

thus, does not adequately plead his culpable participation.

                                          CONCLUSION

       The 5AC states no claim under the stringent pleading requirements of Rule 9(b) and the

PSLRA. It should be dismissed with prejudice.




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Dated: New York, New York           Respectfully submitted,
       December 18, 2019
                                    LATHAM & WATKINS LLP


                                    By: /s/ Miles N. Ruthberg    _
                                        Miles N. Ruthberg
                                        Blake T. Denton
                                        885 Third Avenue
                                        New York, New York 10022
                                        (212) 906-1200
                                        miles.ruthberg@lw.com
                                        blake.denton@lw.com

                                          Sean M. Berkowitz (pro hac vice)
                                          330 North Wabash Avenue, Suite 2800
                                          Chicago, Illinois 60611
                                          (312) 876-7700
                                          sean.berkowitz@lw.com

                                          William J. Trach (pro hac vice)
                                          200 Clarendon Street
                                          Boston, Massachusetts 02116
                                          (617) 948-6000
                                          william.trach@lw.com

                                          Sarah A. Tomkowiak (pro hac vice)
                                          555 Eleventh Street NW
                                          Washington, D.C. 20004
                                          (202) 637-2200
                                          sarah.tomkowiak@lw.com

                                          Attorneys for Defendants General Electric
                                          Company, Jeffrey R. Immelt, Jeffrey S.
                                          Bornstein, Jamie Miller, Keith S. Sherin,
                                          Jan R. Hauser, and Richard A. Laxer




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